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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                               CLARKSBURG

UNITED STATES OF AMERICA,

                   Plaintiff,

      vs.                                   Case No.: 1:13CR75
                                            (JUDGE KEELEY)

DAVEL GODFREY YOUNG,

                   Defendant.


                     REPORT AND RECOMMENDATION
                CONCERNING PLEA OF GUILTY IN FELONY CASE

       This matter has been referred to the undersigned Magistrate Judge by the

 District Court for purposes of conducting proceedings pursuant to Federal Rule of

 Criminal Procedure 11. Defendant, Davel Godfrey Young, in person and by Federal

 Public Defender, Brian J. Kornbrath, appeared before me on November 24, 2015.

 The Government appeared by Assistant United States Attorney, Andrew R. Cogar.

 The Court determined that Defendant was prepared to enter a plea of "Guilty" to

 Count One of the Indictment.

       The Court proceeded with the Rule 11 proceeding by first placing Defendant

 under oath and inquiring into Defendant’s competency. The Court determined

 Defendant was competent to proceed with the Rule 11 plea hearing and cautioned

 and examined Defendant under oath concerning all matters mentioned in Rule 11.

       The Court next inquired of Defendant concerning his understanding of his

 right to have an Article III Judge hear the entry of his guilty plea and his

 understanding of the difference between an Article III Judge and a Magistrate
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 Judge. Defendant thereafter stated in open court that he voluntarily waived his right

 to have an Article III Judge hear his plea and voluntarily consented to the

 undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court a

 written Waiver of Article III Judge and Consent to Enter Guilty Plea before

 Magistrate   Judge.    The waiver and consent         was   signed by Defendant,

 countersigned by Defendant's counsel, and concurred by the signature of the

 Assistant United States Attorney.

       Upon consideration of the sworn testimony of Defendant, as well as the

 representations of his counsel and the representations of the Government, the

 Court finds that the oral and written waiver of an Article III Judge and consent to

 enter a guilty plea before a Magistrate Judge was freely and voluntarily given.

 Additionally, the Court finds that the written waiver and consent was freely and

 voluntarily executed by Defendant Davel Godfrey Young only after having had his

 rights fully explained to him and having a full understanding of those rights through

 consultation with his counsel, as well as through questioning by the Court. The

 Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

       Thereafter, the Court determined that Defendant's plea was pursuant to a

 written plea agreement, and asked the Government to tender the original to the Court.

 The Court asked counsel for the Government if the agreement was the sole

 agreement offered to Defendant. The Government responded that it was the second

 agreement, and was more beneficial to Defendant Young, and counsel for Defendant


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 confirmed the same. The Court asked counsel for the Government to summarize the

 written plea agreement.     Counsel for Defendant and Defendant stated that the

 agreement as summarized by counsel for the Government was correct and complied

 with their understanding of the agreement. The undersigned further inquired of

 Defendant regarding his understanding of the written plea agreement. Defendant

 stated he understood the terms of the written plea agreement and also stated

 that it contained the whole of his agreement with the Government and no promises or

 representations were made to him by the Government other than those terms

 contained in the written plea agreement. The Court ORDERED the written plea

 agreement filed.

       The undersigned then reviewed with Defendant Count One of the Indictment

 and the elements the Government would have to prove, conspiracy to commit wire

 fraud in violation of Title 18 U.S.C. §1349. The undersigned Magistrate Judge also

 reviewed the elements of wire fraud set forth in Title 18 U.S.C. §1343. Subsequently,

 Defendant Davel Godfrey Young pled GUILTY to the charge contained in Count One

 of the Indictment.   However, before accepting Defendant’s plea, the undersigned

 inquired of Defendant’s understanding of the charge against him, inquired of

 Defendant’s understanding of the consequences of him pleading guilty to the charge,

 and obtained the factual basis for Defendant’s plea.

       The Court heard the testimony of, Special Agent Trevor Nelson from the

 United States Treasury Department. Special Agent Nelson testified Defendant was

 involved in an unlawful scheme of defrauding individuals into wiring money to


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 Montego, Bay, Jamaica, in exchange for fraudulent lottery winnings.       He testified

 Defendant used his telephone and email to falsely inform individuals they won a new

 car and lottery prize and in order to receive the winnings would have to pay taxes and

 fees by electronically wiring funds to individuals in Montego Bay, Jamaica. Special

 Agent Nelson further testified Defendant received emails from co-defendant, Zicko

 Peterkin that contained fake documents which were used to defraud the targeted

 individuals. Special Agent Nelson also testified that a number of West Virginians

 were victims of this scheme, and specifically identified a victim from Fairmont, West

 Virginia.

        Neither counsel for Defendant nor Defendant had any questions for the

 witness. However, Defendant stated that he never met co-defendant, Peterkin, but

 admitted to receiving call lists from him. Defendant stated he heard, understood, and

 believed Special Agent Nelson’s testimony was substantially correct. Additionally,

 Defendant provided a factual basis for the commission of the offense. Consequently,

 the undersigned Magistrate Judge concludes the offense charged in Count One of

 the Indictment is supported by an independent basis in fact concerning each of

 the essential elements of such offense, and that independent basis is provided by

 Special Agent Trevor Nelson’s testimony.

        The undersigned then reviewed with Defendant the statutory penalties

 applicable to an individual adjudicated guilty of the felony charge contained in Count

 One of the Indictment and the impact of the sentencing guidelines on sentencing in

 general.    From said review, the undersigned Magistrate Judge determined


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 Defendant understood the nature of the charge pending against him and that the

 possible statutory maximum sentence which could be imposed upon his conviction

 or adjudication of guilty on Count One was a term of imprisonment of not more than

 twenty (20) years. The undersigned further determined Defendant understood a fine

 of not more than not more than $250,000.00 could be imposed, both fine and

 imprisonment could be imposed, he would be subject to a period of not more than

 three (3) years of supervised release, and the Court would impose a special

 mandatory assessment of $100.00 for the felony conviction payable on or before the

 date of sentencing.         Defendant also understood that his sentence could be

 increased if he had a prior firearm offense, violent felony conviction, or prior drug

 conviction. He also understood he might be required by the Court to pay the costs of

 his incarceration, supervision, and probation.

      The undersigned asked Defendant whether he understood that if he were not a

 citizen of the United States, by pleading guilty to a felony charge he would be subject

 to deportation at the conclusion of any sentence; that he would be denied future entry

 into the United States; and that he would be denied citizenship if he ever applied for

 it. Defendant stated that he understood.

        The undersigned also reviewed with Defendant his waiver of appellate and

 collateral attack rights.    Defendant understood that he was waiving his right to

 appeal his conviction and sentence to the Fourth Circuit Court of Appeals on any

 ground whatsoever, including those grounds set forth in 18 U.S.C. § 3742.

 Defendant further understood that under his plea agreement, he was waiving his


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 right to challenge his conviction and sentence in any post-conviction proceeding,

 including any proceeding under 28 U.S.C. § 2255.             Defendant understood,

 however, that he was reserving the right to raise claims of ineffective assistance of

 counsel or prosecutorial misconduct that he learned about after the plea hearing

 and agreed that he was unaware of any ineffective assistance of counsel or

 prosecutorial misconduct in his case at this time. From the foregoing, the

 undersigned determined that Defendant understood his appellate rights and

 knowingly gave up those rights pursuant to the conditions contained in the written

 plea agreement.

       The undersigned Magistrate Judge further examined Defendant relative to his

 knowledgeable and voluntary execution of the written plea bargain agreement, and

 determined   the entry into said written plea bargain agreement was both

 knowledgeable and voluntary on the part of Defendant.

       The undersigned Magistrate Judge further inquired of           Defendant, his

 counsel, and the Government as to the non-binding recommendations and

 stipulations contained in the written plea bargain agreement and determined that

 Defendant understood, with respect to the plea bargain agreement and to

 Defendant's entry of a plea of guilty to the felony charge contained in Count One

 of the Indictment. The undersigned Magistrate Judge informed Defendant that he would

 write the subject Report and Recommendation and would further order a pre-

 sentence investigation report be prepared by the probation officer attending the

 District Court. The undersigned advised the Defendant that the District Judge


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 would adjudicate the Defendant guilty of the felony charged under Count One of the

 Indictment. Only after the District Court had an opportunity to review the pre-

 sentence investigation report, would the District Court make a determination as to

 whether to accept or reject any recommendation or stipulation contained within the

 plea agreement or pre-sentence report. The undersigned reiterated to Defendant that

 the District Judge may not agree with the recommendations or stipulations contained

 in the written agreement. The undersigned Magistrate Judge further advised

 Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the event

 the District Court Judge refused to follow the non-binding recommendations or

 stipulations contained in the written plea agreement and/or sentenced him to a

 sentence which was different from that which he expected, he would not be permitted

 to withdraw his guilty plea. Defendant and his counsel each acknowledged their

 understanding and Defendant maintained his desire to have his guilty plea

 accepted.

       Defendant also understood that his actual sentence could not be calculated

 until after a pre-sentence report was prepared and a sentencing hearing conducted.

 The undersigned also advised, and Defendant stated that he understood, that the

 Sentencing Guidelines are no longer mandatory, and that, even if the District Judge

 did not follow the Sentencing Guidelines or sentenced him to a higher sentence

 than he expected, he would not have a right to withdraw his guilty plea. Defendant

 further stated that his attorney showed him how the advisory guideline chart worked

 but did not promise him any specific sentence at the time of sentencing.   Defendant


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 stated that he understood his attorney could not predict or promise him what actual

 sentence he would receive from the sentencing judge at the sentencing hearing.

 Defendant further understood there was no parole in the federal system, but that he

 may be able to earn institutional good time, and that good time was not controlled

 by the Court, but by the Federal Bureau of Prisons.

       Defendant, Davel Godfrey Young, with the consent of his counsel, Brian J.

 Kornbrath proceeded to enter a verbal plea of GUILTY to the felony charge in

 Count One of the Indictment.

       Upon consideration of all of the above, the undersigned Magistrate Judge

 finds that Defendant is fully competent and capable of entering an informed plea;

 Defendant is aware of and understood his right to have an Article Ill Judge hear and

 accept his plea and elected to voluntarily consent to the undersigned United States

 Magistrate Judge hearing his plea; Defendant understood the charge against him, not

 only as to the Indictment as a whole, but in particular as to Count One of the

 Indictment; Defendant understood the consequences of his plea of guilty, in

 particular the maximum statutory penalty to which he would be exposed for Count

 One; Defendant made a knowing and voluntary plea of guilty to Count One of the

 Indictment; and Defendant's plea is independently supported by Special Agent Trevor

 Nelson testimony which provides, beyond a reasonable doubt, proof of each of the

 essential elements of the charge to which Defendant has pled guilty.

       The undersigned Magistrate Judge therefore recommends Defendant's plea of

 guilty to Count One of the Indictment herein be accepted conditioned upon the


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 Court's receipt and review of this Report and Recommendation.

       The undersigned further directs that a pre-sentence investigation report be

 prepared by the adult probation officer assigned to this case.

       Any party may, within fourteen (14) days after being served with a copy of this

 Report and Recommendation, file with the Clerk of the Court written objections

 identifying the portions of the Report and Recommendation to which objection is

 made, and the basis for such objection. A copy of such objections should also be

 submitted to the Honorable Irene M. Keeley, United States District Judge.   Failure to

 timely file objections to the Report and Recommendation set forth above will result

 in waiver of the right to appeal from a judgment of this Court based upon such

 report and recommendation.      28 U.S.C. § 636(b)(l); United    States v. Schronce,

 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,

 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

       The Clerk of the Court is directed to send a copy of this Report and

 Recommendation to counsel of record.


Respectfully submitted on November 25, 2015




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